          Case 2:13-cr-00368-JAD-VCF           Document 66      Filed 04/19/16     Page 1 of 1




1                                       UNITED STATES DISTRICT COURT

2                                           DISTRICT OF NEVADA

3                                                      ***

4
      UNITED STATES OF AMERICA,
5
                           Plaintiff,
6                                                         2:13-cr-00368-JAD-VCF
      vs.                                                 ORDER
7     WILLIAM C. THOMPSON,
8                          Defendant.
9           Before the court is Defendant's Motion for Hearing to Evaluate Conditions of Incarceration (#64).
10          IT IS HEREBY ORDERED that any opposition to Defendant's Motion for Hearing to Evaluate
11   Conditions of Incarceration (#64) must be filed on or before April 27, 2016. No reply necessary.
12          IT IS FURTHER ORDERED that a hearing on Defendant's Motion for Hearing to Evaluate
13   Conditions of Incarceration (#64) is scheduled for 3:00 p.m., May 2, 2016, in courtroom 3D.
14          DATED this 18th day of April, 2016.
15

16
                                                                _________________________
17
                                                                CAM FERENBACH
18
                                                                UNITED STATES MAGISTRATE JUDGE

19

20

21

22

23

24

25
